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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

                                          )
 Commodity Futures Trading                )
 Commission,                              )
                  Plaintiff,              )    Civil Action No. 3:23-cv-11808
             v.                           )
                                          )    District Judge Edward S. Kiel
 Traders Global Group, Inc., a New        )
 Jersey corporation d/b/a “My Forex       )    Mag. Judge Elizabeth A. Pascal
 Funds”; Traders Group Global Inc., a     )
 Canadian business organization; and      )
 Murtuza Kazmi                            )
                     Defendants.          )
                                          )

  NOTICE OF DISCLOSURE OF INFORMATION IN SEALED REPORT
                  AND RECOMMENDATION

      Plaintiff Commodity Futures Trading Commission respectfully notifies this

Court that on May 5, 2025, it became aware that information contained within the

Special Master’s Sealed Report and Recommendation (Dkt. No. 247) has been

shared with a member of the press. We have no further information on the matter

at this time. The CFTC will promptly file, as it deems appropriate, a motion to

unseal, seal, or redact portions of the Report and Recommendation pursuant to

Local Rule 5.3(c).



Dated: May 5, 2025                            Respectfully submitted,

                                              /s/ Margaret P. Aisenbrey

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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 5, 2025, the foregoing was electronically filed

with the Clerk of the Court for the United States District Court for the District of

New Jersey using the CM/ECF system.


                                                            /s/ Margaret P. Aisenbrey




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